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                     · IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA
           FEDER AL TORT  CLAIMS ACT§§ 2671:...30 AND u.s.c. 42 § 1983
                          . UNITED STATES OF AMERICA
               B.O.P. Cimarron Correctional Facility (U.S.M.S.)
                                Cushing, Oklahoma
                                                                                   FILED
     Orin Kristich                                 )     CIV-23-544-SLP
        Plaintiff,                                 )                               JUN 2 0 2023
                                                   )    Claim/Case No• CARMELITA REEDER SHINN,CLERK
           v.                                      )                       U.S. DIST COU�T�ESTERN D IST OKLA
                                      )·'.Tort Claim           sv   $�         , DEPUTY
     United States of Am�rica,        ) The End.i.ag Qualified·
     Bureau of Prisons,               ) Immunity Act
     Warden Dickerson (C.C.A./C.C.F.)) The Stripping Doctrine
     Dr. Crain, (c.c.A./C.C.F.)
     Nurse Casady (C.C.A./C.C.F. )
                                      ) :FEDERAL TORT CLA!MS,
                                      ) I ·, .. -·--·· -·· --·- -- \ AC!_ �§ ?'671:...so··
                                                                    ,
     Nurse Foster (C � C.A./C.C.F . ) ) i/ U.S • C. 42§ 198 J
     U.S.M.S. (District of Oklahoma) )/.
        Defendants.                   ) TRIAL REQUEST


            This action, and relief is being sought under the Federal

     Tort Claims Act;          1
                                   the �nding Qualified             Irnmunity Act;       and the

     Stripping Doctrine:-/           U.S.C. 42 §       1983:_
     Mr.   Kris tich     has        exhausted      all      II   availableII   administrative

     rem�dies that were available to him under Section 1997e(a) and

     the PLRA.
     When Mr. Kristich was sent to U.S.P.T.; he left an address for

     the above Defendants to respond to the administrative remedies

     that we,re available to him. Moreover, Mr. Kristich sent a letter
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     to the above Facility's Warden on January, 25th, 2022, telling

     him that Mr. Kristich was at U.S.P.T. waiting for the Defendants
     to respond to his injury claim, filed through the administrative
     remedy process. The above stated Defendants were acting o utside

     of their official role; while acting under color of law.
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(1) The abbve named Defendants deprived Mr. Kristich of his right
to seek medical treatment, after being made aware of and being
told about his medical emergency. [ This right is found in the
Defendant's Handbook] This is Mr. Kristich's right under the
Eighth Amendment of the United States Constitution. [D/0 Overton
and D/0 Jauregi were witnesses]. In Estella v. Gamble, supra; the
Supreme     Court   has     held   "that -deliberate indifference           to an
inmate's medical needs is cruel and unusual punishment rested on
the fact, recognized by common law and state legislatures, that
"an inmate" must rely on prison authorities to treat his medical
needs, if the authorities fail to do so those needs will not be
met." 429 U.S., at 103. Moreover, in Estella, the Supreme Court
held "that the denial of medical care is cruel and unusual
because, in the worst case it can result in physical torture, and
in   less   serious    cases,      it   can   result    in   pain without any
penological purpose." 429 U.S.-, at 103.


·2) The above named Defendants deprived Mr. Kristich of his right
to access medical care. [This right is found in the Defendant's
Handbook).      This   is    Mr.    Kristich's     right     under   the    Eighth
Amendment of the United States Constitution. [After being told
about his medical emergency].


3) Mr. Kristich was locked in a cell in Unit F.C. for over 24
hours   after    his injury.       [For   about    15 hours there were no
officers making well-fair checks; they did not even serve food on
December 25, 2021, because of the lack of well-fair checks on
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December 25, 2021.



4) Mr. Kristich is respectfully requesting relief in the form of

monetary damages in this ca_�_!:_ for the following reason;

a) Deprivation· of Rights; when the Defendants were acting under
color of law. ($50,000 p·er Defendant).

b)    Lack of     medical treatment;        leading to   life-long pain and
                                           _
suffering;      and lack of medical care after a medical emergency

(injury), 30 hours of extreme pain and suffering with no response

from the medical st�ff, nerve and muscle damage due . to lack of
medical     treatment 1 and lack      of   medical· care.       ($1,000,000    per

Defendant).

c)    Abuse and neglect of         a prisoner;      by not responding to         a
medical emergency       (after being told multiple times by Officer

Overton),    leading to extreme pain and suffering · for about 30

hours (on December 25, 2021 4am Christmas Day, and lasting until
about 3pm on December 26, 2Q21, when Mr. Kristich's injury was

finally treated at ·the hospital). Moreover, this was the· second

hospital Mr. Kristich was taken to. ($100,000 per Defendant).
d)    Medical malpractice        �eading   to long-term nerve damage and
muscle · damage    (an injury because of         lack of treatment to Mr.
Kristich's      dislocated    shoulder).    Life-long     injury    due   to the

above   Defendants     actions     while   acting     outside their official

role,     whiie    acting ·   under    color     of    law.     ($100,000      per
Defendant)(life-long pain and suffering).
e) For a total of $6,950,000 U.S. Dollars.

f) Under the mailbox rule, this document is deemed filed as soon
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as it is placed with institutior staff to be sent to the court
and or respondents to the above stated claim.
Respectfully submitted on this     -1.!:L day of JIAv::ve          , 2023,
I hereby declare that the foregoing is true and correct under 28
U.S.C. § 1746 and 18 U.S.C. § 1001.
